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CASE 0:20-cv-01315-NEB-LIB Document 9 Filed 07/13/20 Page 6 of 42




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  CASE 0:20-cv-01315-NEB-LIB Document 9 Filed 07/13/20 Page 8 of 42




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 CASE 0:20-cv-01315-NEB-LIB Document 9 Filed 07/13/20 Page 10 of 42




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CASE 0:20-cv-01315-NEB-LIB Document 9 Filed 07/13/20 Page 13 of 42




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CASE 0:20-cv-01315-NEB-LIB Document 9 Filed 07/13/20 Page 16 of 42
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CASE 0:20-cv-01315-NEB-LIB Document 9 Filed 07/13/20 Page 22 of 42




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CASE 0:20-cv-01315-NEB-LIB Document 9 Filed 07/13/20 Page 23 of 42




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 CASE 0:20-cv-01315-NEB-LIB Document 9 Filed 07/13/20 Page 34 of 42




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          J-our-attea#r,rr-tira**[{anr,'nrir-fiJtA*"f,; voiow*(t:pyr:iqht-er.$ rrznun!-Cla,,lo.l
                    J:                               '1
                                                                  l.l         .r-




           ,.$"*J*f             t,^*y,Xmun^erA-t^lhtok*g.c".:e,r.J*.Lir-Bihr--"fu- o?ftd,*H4^srta-


         pr^l   -ir   -pe^,J,        -o   ndJott   nlo.   st
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                                                                                    f




          olthn*rJ-rgle,*u-pu^dt
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:e-s p ouse   *owl"m1   ea   wr   [
                                      1   -.'ctl:qs,-{i1*olJe   $*o, " tw.lk.!:I^*{,/.,s   -ruafian1   **
         l*Ho**,rq*is*o1lriry4*t:A^*4*4o"e,ct:,vr,r*i"h,pv.senl*aw
CASE 0:20-cv-01315-NEB-LIB Document 9 Filed 07/13/20 Page 38 of 42




     R ors rnpj   n   r   re oJi l-7-safi   #y+41-   op*714.-r,<aatxn   rub*fi {=a" *
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                  t-


     fl
           '      J                              ."
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*f ubtrc*5a,fe/.r*nod:#'rfur"-slr*d**k*kn<d-ynd'5*qycnl*[fr ,i


 ,u.b151*C,d.outcrrr-Cs'rdu.4*sahs#qJ$r*ebn",*i*oe-Ho+svd".**pnrwJantL
CASE 0:20-cv-01315-NEB-LIB Document 9 Filed 07/13/20 Page 41 of 42




  ,r*1-[.*ADA.-
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